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                    United States District Court
                              CIVIL MINUTES - GENERAL

Date: October 4, 2022                                                  Case No.: 4:22cv302-RH
Time: 10:00 – 10:11 a.m.

                           ANDREW H. WARREN v. RON DESANTIS


DOCKET ENTRY: Telephonic Scheduling Conference held. Court hears from parties regarding
pending issues. Ruling by Court: Any additional issues requiring a ruling by the Court should be
filed on the docket and a response timely filed.
______________________________________________________________________________


PRESENT:     ROBERT L. HINKLE, U. S. DISTRICT JUDGE


              Cindy Markley                            Megan Hague
               Deputy Clerk                        Official Court Reporter

______________________________________________________________________________
ATTORNEYS APPEARING FOR PLAINTIFF:
Jean-Jacques Cabou
Alexis Danneman


ATTORNEYS APPEARING FOR DEFENDANT:
George Levesque
Henry Whitaker
James Percival
Jeffrey DeSousa
Natalie Christmas
David Costello
Jeffrey Aaron
